                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                               Civil Action No. 1:23-cv-527

 TYLIYA J. NELSON

          Plaintiff

          v.

 THREE POINTS CENTER, LLC;
 THREE POINTS CENTER NORTH
 CAROLINA, LLC; THREE POINTS                DEFENDANTS’ ANSWER AND
 PROPERTIES, LLC; THREE                     DEFENSES TO PLAINTIFF’S
 POINTS PROPERTIES NORTH                           COMPLAINT
 CAROLINA, LLC; THREE POINTS                  (Jury Trial Demanded)
 ACADEMY, INC., & THANE
 PALMER

          Defendants.



         Defendants Three Points Center, LLC, Three Points Center North

Carolina, LLC, Three Points Properties, LLC; Three Points Properties North

Carolina, LLC; Three Points Academy, Inc., & Thane Palmer (collectively,

“Defendants”) by and through counsel, respond to Plaintiff Tyliya J. Nelson’s

Complaint [Doc No.1] as follows:

                                 FIRST DEFENSE

         The Court lacks subject matter jurisdiction over the non-employer

Defendants. Plaintiff was employed solely by Three Points Center North

Carolina, LLC. Whereas, Defendants Three Points Center, LLC, Three Points



                                        1
4889-7456-2423.v7



        Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 1 of 27
Properties, LLC, Three Points Properties North Carolina, LLC and Three

Points Academy, LLC, and Thane Palmer, individually, did not employ

Plaintiff (nor did they have a contract with Plaintiff) and, therefore, are not

subject to suit or liability for Plaintiff’s alleged claims under Title VII or

Section 1981.

         Further, venue in this judicial district is not proper as to Defendants

Three Points Center, LLC, Three Points Properties, LLC, Three Points

Properties North Carolina, LLC or Three Points Academy, Inc., for the reasons

more fully set forth in this Answer to Complaint.

                                 SECOND DEFENSE

         The Complaint fails to state, in whole or in part, a claim against

Defendants for which relief can be granted, and should be dismissed pursuant

to Rule 12(b)(6) of the Federal Rules of Civil. Defendants Three Points Center,

LLC, Three Points Properties, LLC, Three Points Properties North Carolina,

LLC and Three Points Academy, LLC, and Thane Palmer, did not employ

Plaintiff (nor did they have a contract with Plaintiff) and, therefore, are not

subject to suit or liability for Plaintiff’s alleged claims under Title VII of the

Civil Rights of 1964, as amended (“Title VII”) or 42 U.S.C. § 1981 (“Section

1981”). Defendant Three Points Center North Carolina, LLC did not engage

in any violations of Title VII or Section 1981, as more fully set forth in this




                                        2
4889-7456-2423.v7



        Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 2 of 27
Answer to Complaint. Accordingly, claims against all Defendants should be

dismissed in their entirety.

                                THIRD DEFENSE

         Three Points Center North Carolina, LLC terminated Plaintiff’s at-will

employment for a legitimate business reason. Any employment actions taken

against Plaintiff, including, but not limited to, her termination of employment

by Three Points Center North Carolina, LLC were taken in good faith for

legitimate, nondiscriminatory and non-retaliatory reasons.

                               FOURTH DEFENSE

          Defendants plead lack of subject matter jurisdiction over all or part of

the subject in bar of all or part of Plaintiff’s claims. All claims brought pursuant

to Title VII which were not included in Plaintiff’s charge filed with the EEOC

or investigated by the EEOC are barred because of Plaintiff’s failure to satisfy

the statutory prerequisites and/or because of lack of subject matter

jurisdiction.

                                FIFTH DEFENSE

         Plaintiff’s claims are barred because Defendants committed no act or

omission with the intent to cause harm, injury or other damage to Plaintiff.

                                 SIXTH DEFENSE

         Plaintiff is not entitled to some or all of the relief requested in the

Complaint because Defendants’ actions were not malicious, egregious, in bad

                                          3
4889-7456-2423.v7



        Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 3 of 27
faith, or in willful or reckless indifference or disregard of any legal rights of

Plaintiff.

                              SEVENTH DEFENSE

          Some or all of Plaintiff’s claims are barred because, even if Defendant

Three Points Center North Carolina, LLC were to have considered any

impermissible factors in any decisions or actions with respect to Plaintiff,

which is denied, Defendant Three Points Center North Carolina, LLC would

have taken the same action with regard to Plaintiff’s employment regardless

of impermissible factors.

                               EIGHTH DEFENSE

         To the extent Plaintiff was treated differently from other similarly-

situated employees on the basis of race, if at all, such different treatment was

based on factors other than alleged unlawful reasons. Reasonable care was

exercised to prevent and correct promptly any discriminatory or retaliatory

behavior that may have occurred, as alleged by Plaintiff, and Plaintiff

unreasonably failed to take advantage of preventive or corrective opportunities

provided to Plaintiff or to otherwise avoid hard.




                                         4
4889-7456-2423.v7



        Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 4 of 27
                                  NINTH DEFENSE

         Plaintiff   did   not    engage   in   legally   protected   activity   and,

notwithstanding, Plaintiff was not terminated for engaging in any alleged

protected activity.

                                  TENTH DEFENSE

         Some or all of Plaintiff’s claims are barred by their applicable statutes of

limitations and/or limitation periods.

                                 ELEVENTH DEFENSE

         Some or all of Plaintiff’s claims are barred by her failure to exhaust

statutorily required administrative processes.

                                 TWELFTH DEFENSE

         Plaintiff’s claims for damages are barred or subject to reduction, in whole

or in part, by the doctrine of mitigation of damages. Plaintiff willfully incurred,

contributed to, and/or failed to take reasonable measures to mitigate damages.

                             THIRTEENTH DEFENSE

         Plaintiff’s claims are barred in whole or in part by the doctrines of

waiver, laches, consent and/or estoppel.




                                           5
4889-7456-2423.v7



        Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 5 of 27
                              FOURTEENTH DEFENSE

         Plaintiff has failed to allege ultimate facts, or make the requisite

showing, that would render Defendants liable for punitive damages under Title

VII, 42 U.S.C. § 1981, and/or North Carolina law.

                               FIFTEENTH DEFENSE

         Plaintiff’s claims are barred by after-acquired evidence showing that

Plaintiff committed egregious misconduct during her employment for which

her employment would have been terminated, if known.

                             RESERVATION OF RIGHTS

         Defendants reserve the right to assert any and all additional defenses

as may be determined necessary during the course of discovery.

            SIXTEENTH DEFENSE AND ANSWER TO COMPLAINT

         Defendants respond to the corresponding labeled and numbered

paragraphs of Plaintiff’s Complaint, as follows:

                       Plaintiff’s Statement of the Case

         Defendants admit that Plaintiff seeks to assert claims pursuant to Title

VII of the Civil Rights Act of 1964, as amended, and 42 U.S.C. § 1981.

Defendants specifically deny Plaintiff’s inaccurate and inflammatory

Statement of the Case and all such allegations contained therein are denied.




                                         6
4889-7456-2423.v7



        Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 6 of 27
                Venue, Jurisdiction & Administrative Proceedings

         1.         It is denied that jurisdiction and venue is proper except as to Three

Points Center North Carolina LLC. It is expressly denied that Defendants are

an “integrated enterprise” or a “single” employer.

         2.         It is denied that jurisdiction and venue is proper except as to Three

Points Center North Carolina LLC. It is expressly denied that Defendants are

an “integrated enterprise” or a “single” employer.

         3.         It is denied that jurisdiction and venue is proper except as to Three

Points Center North Carolina LLC. It is expressly denied that Defendants are

an “integrated enterprise” or a “single” employer.

         4.         Defendants lack sufficient knowledge or information to form a

belief as to the truth or falsity of the allegations in Paragraph 4 and the same

are therefore denied.

         5.         It is admitted that Exhibit A to the Complaint is a written

document which speaks for itself. Defendants lack sufficient knowledge or

information to form a belief as to the truth or falsity of the remaining

allegations in Paragraph 5 and the same are therefore denied.

         6.         It is denied that jurisdiction and venue is proper except as to Three

Points Center North Carolina LLC. It is expressly denied that Defendants are

an “integrated enterprise” or a “single” employer.




                                               7
4889-7456-2423.v7



        Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 7 of 27
         7.         It is denied that jurisdiction and venue are proper except as to

Three Points Center North Carolina LLC. It is expressly denied that

Defendants are an “integrated enterprise” or a “single” employer. The

remaining allegations on Paragraph 7 are denied.

                                          Parties

         8.         It is admitted that Plaintiff was employed by Three Points Center,

North Carolina, LLC in the role of mentor from in or around December 2021

until April 6, 2022. It is admitted upon information and belief that Plaintiff is

a black female. Defendants lack sufficient knowledge or information to form a

belief as to the truth or falsity of Plaintiff’s residency. Except as expressly

admitted, the remaining allegations in Paragraph 8 are denied.

         9.         The allegations of Paragraph 9 are denied.

         10.        It is expressly denied that Defendants are an “integrated

enterprise” or a “single” employer. The remaining allegations of Paragraph 10

call for a legal conclusion to which no response is required, and, to the extent

a response is required, such allegations are denied.

         11.        It is admitted that Exhibit B to the Complaint is a written

document which speaks for itself and is the best evidence of its contents. Except

as expressly admitted, the allegations of Paragraph 11 are denied.

         12.        It is admitted that Three Points Center, LLC, Three Points Center

North Carolina, LLC, and Three Points Academy, Inc., were voluntarily

                                              8
4889-7456-2423.v7



        Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 8 of 27
dissolved in the state of Colorado on or about June 5, 2023. Except as expressly

admitted, the allegations of Paragraph 12 are denied.

         13.        It is admitted that Three Points Center, LLC operates a residential

treatment program for adopted teens in the state of Utah and that Three

Points Center North Carolina, LLC operates a non-public boarding school for

adopted teens in the state of North Carolina, which also offers therapy services.

Except as expressly admitted, the remaining allegations of Paragraph 13 are

denied.

         14.        It is admitted that Three Points Center, LLC, a Colorado limited

company, was voluntarily dissolved in the state of Colorado on or about June

5, 2023. Except as expressly admitted, the remaining allegations of Paragraph

14 are denied.

         15.        It is admitted that Three Points Center North Carolina, LLC, a

Colorado limited liability company, was voluntarily dissolved in the state of

Colorado on or about June 5, 2023. Except as expressly admitted, the

remaining allegations of Paragraph 15 are denied.

         16.        It is admitted that Three Points Properties, LLC, a Utah limited

liability company, is the record owner of real property utilized by Three Points

Center, LLC, in Utah. Except as expressly admitted, the remaining allegations

of Paragraph 16 are denied.




                                              9
4889-7456-2423.v7



        Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 9 of 27
         17.        It is admitted that Three Points Properties North Carolina, LLC,

a Colorado limited liability company, was voluntarily dissolved in the state of

Colorado on or about June 5, 2023 and reorganized in the state of Utah. It is

admitted that Three Points Properties North Carolina, LLC is the record

owner of the real property in Chatham County, North Carolina utilized by

Three Points Center North Carolina, LLC and that Plaintiff’s employment

with Three Points Center North Carolina, LLC ended on April 6, 2022. Except

as expressly admitted, the remaining allegations of Paragraph 17 are denied.

         18.        It is admitted that Three Points Academy, Inc., a Colorado non-

profit corporation, was voluntarily dissolved in the state of Colorado on or

about June 5, 2023 and reorganized in the state of Utah. Except as expressly

admitted, the remaining allegations of Paragraph 18 are denied.

         19.        It is admitted that Palmer is the President of some, but not all, of

the entities, which Plaintiff collectively defines as “Three Points Center”. It is

further admitted that Palmer maintains a residence in Chatham County,

North Carolina. Except as expressly admitted, the remaining allegations of

Paragraph 19 are denied.

         20.        To the extent that Plaintiff alleges that Palmer made the decision

to terminate Plaintiff’s employment, or that his authorization was required to

terminate Plaintiff’s employment, the allegations are denied. The remaining




                                              10
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 10 of 27
allegations in Paragraph 20 call for a legal conclusion to which no response is

required, and to the extent a response is required, such allegations are denied.

         21.        To the extent that Plaintiff alleges that a single entity or person

owns at least 50% of all of the Defendants LLCs, the allegations are denied.

The remaining allegations of Paragraph 21 call for a legal conclusion to which

no response is required, and to the extent a response is required, such

allegations are denied.

         22.        The allegations of Paragraph 22 are denied.

         23.        The allegations of Paragraph 23 are denied.

         24.        The allegations of Paragraph 24 are admitted.

         25.        The allegations in Paragraph 25 call for a legal conclusion to which

no response is required. To the extent a response is required, the allegations of

Paragraph 25 are denied.

         26.        The legal proceeding referenced in footnote 1 of the Complaint

speaks for itself. Defendants deny Plaintiff’s characterization of said legal

proceeding, and accordingly, the allegations in Paragraph 26 of the Complaint

are denied.

         27.        Defendants expressly deny Plaintiff’s mischaracterization; it is

expressly denied that students are/were moved back and forth between the

facilities in Utah and North Carolina. It is admitted that Plaintiff assisted with

the one-time travel of certain students from Utah to the then newly-opened

                                              11
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 11 of 27
Three Points Center in North Carolina due to proximity and convenience of

families and/or students. Except as expressly admitted, the remaining

allegations of Paragraph 27 are denied.

         28.        It is admitted that Three Points Center, LLC and Three Points

Center North Carolina, LLC share a website. The remaining allegations of

Paragraph 28 are denied.

         29.        The internet domain/url cited in Paragraph 29 speaks for itself and

is the best evidence of its contents. To the extent further response is required,

the remaining allegations of Paragraph 29 are denied.

         30.        The allegations of Paragraph 30 are denied.

         31.        The allegations of Paragraph 31 are denied.

         32.        It is admitted that Three Points Center North Carolina, LLC was

Plaintiff’s employer. The remaining allegations of Paragraph 32 are denied.

                                    Factual Allegations

         33.        The allegations of Paragraph 33 are denied.

         34.        Defendants specifically deny Plaintiff’s negative characterization

in Paragraph 34. The website referenced in footnote 2 to Paragraph 34 speaks

for itself and is the best evidence of its contents. The remaining allegations of

Paragraph 34 are denied.

         35.        It is admitted that Plaintiff was employed by Three Points Center

North Carolina, LLC in the role of mentor from in or around December 2021

                                              12
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 12 of 27
until April 6, 2022. It is admitted upon information and belief that Plaintiff is

a black woman. The remaining allegations of Paragraph 35 are denied.

         36.        To the extent that Plaintiff alleges that “constant supervision”

constituted 24-hour supervision, then it is expressly denied that Plaintiff’s role

as a mentor in her employment with Three Points Center North Carolina, LLC

required her to provide “constant supervision” or that Plaintiff provided

“constant supervision.” It is admitted that Plaintiff’s hourly rate in her

employment with Three Points Center North Carolina, LLC was $12.00. The

remaining allegations of Paragraph 36 are denied.

         37.        The allegations of Paragraph 37 are denied.

         38.        It is admitted that Three Points Center North Carolina, LLC is a

limited security facility in Chatham County, North Carolina designed to

provide a safe experience for its students. The remaining allegations of

Paragraph 38 are denied.

         39.        It is admitted that, during her employment with Three Points

Center North Carolina, LLC, Plaintiff was trained in methods to safely

restrain a student if the student threatened physical harm to herself or others,

and that Plaintiff may have utilized such training, as necessary, during her

employment with Three Points Center North Carolina, LLC. The remaining

allegations of Paragraph 39 are denied.




                                             13
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 13 of 27
         40.        The allegations of Paragraph 40 relate to Plaintiff’s personal

opinion and thus, no response is required.

         41.        Defendants lack sufficient knowledge or information upon which

to form a belief as to the truth or falsity of the allegations in Paragraph 41 and

the same are, therefore denied.

         42.        The allegations of Paragraph 42 are denied.

         43.        It is admitted that Three Points Center North Carolina, LLC,

prohibited the use of racial epithets or other racially derogatory language from

staff or students, and that staff and students were counseled by Thane Palmer,

accordingly. Except as expressly admitted, the allegations of Paragraph 43 are

denied.

         44.        The allegations of Paragraph 44 are denied.

         45.        The allegations of Paragraph 45 are denied.

         46.        The allegations of Paragraph 46 are denied.

         47.        The allegations of Paragraph 47 are denied.

         48.        It is admitted that Plaintiff reported late for her scheduled work

shift on April 5. The remaining allegations of Paragraph 48 are denied.

         49.        It is admitted that Plaintiff initiated a group text message with

several employees of Three Points Center North Carolina, LLC on the morning

of April 6, 2023 and that such text message speaks for itself and is the best




                                             14
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 14 of 27
evidence of its contents. Except as expressly admitted, the allegations of

Paragraph 49 are denied.

         50.        It is admitted that at times pertinent to the allegations in the

Complaint, Craig Butcher was employed by Three Points Center of North

Carolina, LLC as the Group Living Director. Except as expressly admitted, the

remaining allegations of Paragraph 50 are denied.

         51.        The allegations of Paragraph 51 are denied. Defendants

specifically deny Plaintiff’s attempts to disparage and malign the operations of

Three Points Center North Carolina, LLC and the other defendants by the use

of the term “warden.”

         52.        It is admitted that Craig Butcher met with Plaintiff, at Plaintiff’s

request, on the morning or April 6, 2023 concerning Plaintiff’s dislike toward,

and her unwillingness to work with, her supervisor(s). The remaining

allegations of Paragraph 52 are denied.

         53.        It is denied that the partial quotes from a text message cited in

Paragraph 53 accurately reflect Craig Butcher’s communications with

Plaintiff, and that the full and complete text messages speak for themselves

and are the best evidence of the content of same. The remaining allegations of

Paragraph 53 are denied.

         54.        Defendants admit that Craig Butcher and Plaintiff, both

employees of Three Points Center of North Carolina, LLC at all pertinent times

                                              15
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 15 of 27
to this action, had an in-person meeting at or around 11:00am on April 6, 2023

in the administrative building of Three Points Center of North Carolina, LLC.

The remaining allegations of Paragraph 54 are denied.

         55.        It is admitted that during the April 6, 2023 meeting between Craig

Butcher and Plaintiff, Plaintiff vaguely mentioned her displeasure with the

conduct of co-workers of Three Points Center North Carolina, LLC, but did not

provide details of her concerns to Craig Butcher. The remaining allegations of

Paragraph 55 are denied.

         56.        It is admitted that during the April 6, 2023 meeting Craig Butcher

and Plaintiff, Plaintiff vaguely mentioned her displeasure with the conduct of

co-workers of Three Points Center North Carolina, LLC, but provided no

details of her concerns to Craig Butcher. The remaining allegations of

Paragraph 56 are denied.

         57.        It is admitted that, during the April 6, 2023 meeting between

Plaintiff and Craig Butcher, and on numerous occasions prior to April 6, 2023,

Plaintiff challenged her supervisor’s lawful work instructions and directions to

Plaintiff, and that Craig Butcher discussed the same with Plaintiff.

Defendants admit also that Craig Butcher explained to Plaintiff the context of

Palmer’s coaching not to use racial slurs, which Plaintiff had clearly

misinterpreted and continues to describe inaccurately in this Complaint. The

remaining allegations of Paragraph 57 are denied.

                                             16
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 16 of 27
         58.        It is admitted that Craig Butcher explained to Plaintiff the context

of Palmer’s coaching not to use racial slurs, which Plaintiff had clearly

misinterpreted and continues to describe inaccurately in this Complaint. The

remaining allegations of Paragraph 58 are denied.

         59.        It is denied that the partial quotes cited out of context in

Paragraph 59 accurately reflect the content or context of Craig Butcher’s

communications with Plaintiff. Defendants admit that Craig Butcher

counseled Plaintiff on her performance deficiencies, including, but not limited

to, Plaintiff’s excessive pattern of tardiness and absenteeism for which she had

received written counselings and her irascible demeanor with her supervisors.

It is further admitted that Craig Butcher also provided Plaintiff positive

feedback about certain aspects of her performance. The remaining allegations

of Paragraph 59 are denied.

         60.        It is denied that the partial quotes cited out of context in

Paragraph 60 accurately reflect the content or context of Craig Butcher’s

communications with Plaintiff. The remaining allegations of Paragraph 60 are

denied.

         61.        The allegations in Paragraph 61 are vague and incomprehensible.

To the extent a response is required, the allegations of Paragraph 61 are

denied.

         62.        The allegations of Paragraph 62 are denied.

                                              17
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 17 of 27
         63.        It is denied that the partial quotes contained in Paragraph 63

accurately reflect the content or context of Craig Butcher’s communications

with Plaintiff. The remaining allegations of Paragraph 63 are denied.

         64.        The allegations of Paragraph 64 are denied.

         65.        The allegations of Paragraph 65 are denied.

         66.        Defendants specifically deny Plaintiff’s attempts to malign and

disparage Three Points Center North Carolina LLC’s business operations

and/or its geographical location. The remaining allegations of Paragraph 66

are denied.

         67.        It is admitted that during the April 6, 2023 meeting between Craig

Butcher and Plaintiff, Plaintiff vaguely mentioned her displeasure with the

conduct of co-workers of Three Points Center North Carolina, LLC, but did not

provide details of her concerns to Craig Butcher. Except as expressly admitted,

the remaining allegations of Paragraph 67 are denied.

         68.        The allegations of Paragraph 68 are denied.

         69.        It is admitted that in or around January 2022, Plaintiff and co-

workers appropriated breakfast food inventories from Three Points Center

North Carolina, LLC that was purchased and designed for meals for students,

and then, without authorization, used the ingredients to prepare themselves a

“private” breakfast, although Three Points Center North Carolina, LLC

provided meals to staff such as Plaintiff during their scheduled work hours,

                                             18
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 18 of 27
and that Plaintiff and the other staff members involved were questioned about

their conduct by Craig Butcher upon discovery of the missing food. Except as

expressly admitted, the remaining allegations of Paragraph 69 are denied.

         70.        It is admitted that in or around January 2022, Plaintiff and some

of Plaintiff’s co-workers appropriated breakfast food inventory from Three

Points Center North Carolina, LLC that was purchased and designed for meals

for students, and then, without authorization, used the ingredients to prepare

themselves a “private” breakfast, although Three Points Center North

Carolina, LLC provided meals to staff such as Plaintiff during their scheduled

work hours, and that Plaintiff and the other staff members involved were

questioned about their conduct by Craig Butcher upon discovery of the missing

food. It is further admitted that Craig Butcher’s full and complete text

message(s) speak for themselves and are the best evidence of the content of

same. Except as expressly admitted, the remaining allegations of Paragraph

70 are denied.

         71.        The allegations of Paragraph 71 are denied.

         72.        It is admitted that in or around January 2022, Plaintiff and some

of Plaintiff’s co-workers appropriated breakfast food inventory from Three

Points Center North Carolina, LLC that was purchased and designed for meals

for students, and then, without authorization, used the ingredients to prepare

themselves a “private” breakfast, although Three Points Center North

                                             19
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 19 of 27
Carolina, LLC provided meals to staff such as Plaintiff during their scheduled

work hours, and that Plaintiff and the other staff members involved were

questioned about their conduct by Craig Butcher upon discovery of the missing

food. Defendants expressly deny that Plaintiff or anyone else received a wage

deduction for appropriating breakfast food inventory without authorization.

The remaining allegations of Paragraph 72 are denied.

         73.        Defendants specifically deny Plaintiff’s attempts to disparage,

malign and inaccurately describe the operations of Three Points Center North

Carolina, LLC or the other defendants. The remaining allegations of

Paragraph 73 are denied.

         74.        The allegations of Paragraph 74 are admitted upon information

and belief.

         75.        The allegations of Paragraph 75 are denied.

         76.        It is admitted that Plaintiff’s employment with Three Points

Center North Carolina, LLC was terminated on April 6, 2023. Except as

expressly admitted, the remaining allegations of Paragraph 76 are denied.

         77.        The allegations of Paragraph 77 are denied.

         78.        The allegations of Paragraph 78 are denied.

         79.        The allegations of Paragraph 79 are denied.

         80.        The allegations of Paragraph 80 are specifically denied with

respect to the word “boss.” Defendants admit that Craig Butcher held the title

                                             20
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 20 of 27
of Group Living Director with Three Points Center North Carolina, LLC at all

times pertinent to the captioned lawsuit. The remaining allegations of

Paragraph 80 are denied.

         81.        It is denied that the partial quotes cited out of context in

Paragraph 81 accurately reflect the content or context of Craig Butcher’s

communications with Plaintiff; the full text messages are writings that contain

the best evidence of communications between Plaintiff and Craig Butcher. The

remaining allegations of Paragraph 81 are denied.

         82.        It is denied that the partial quotes cited out of context in

Paragraph 82 accurately reflect the content or context of Craig Butcher’s

communications with Plaintiff; the full text messages are writings that contain

the best evidence of communications between Plaintiff and Craig Butcher. The

remaining allegations of Paragraph 82 are denied.

         83.        The allegations of Paragraph 83 relate to Plaintiff’s personal

opinion and thus, no response is required. To the extent a response is required,

the allegations in Paragraph 83 are denied.

         84.        The allegations of Paragraph 84 are denied.

         85.        It is denied that the purported partial quote from Plaintiff

accurately reflects the content or context of communications between Craig

Butcher and Plaintiff. The remaining allegations of Paragraph 85 are denied.




                                             21
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 21 of 27
         86.        It is denied that the purported partial quote cited in Paragraph 82

accurately reflects Craig Butcher’s content or context of communications with

Plaintiff. The remaining allegations of Paragraph 86 are denied.

         87.        It is admitted that Plaintiff and others at Three Points Center

North Carolina, LLC sometimes referred to Plaintiff as “T.” The remaining

allegations of Paragraph 87 are overly vague and ambiguous and thus, denied.

         88.        Defendants lack sufficient knowledge or information to form a

belief as to the allegations of opinions of others or the context of a partial text

message copied and pasted into Paragraph 88, and the same are therefore

denied. To the extent Paragraph 88 refers to text messages, such text messages

are writings that contain the best evidence of their content. The remaining

allegations contained in Paragraph 88 of the Complaint are denied.

         89.        The allegations of Paragraph 89 are denied.

         90.        The allegations of Paragraph 90 are denied.

         91.        The allegations of Paragraph 91 are denied.

         92.        The allegations of Paragraph 92 are denied.

                                       Count I
             (42 U.S.C. § 1981 –Intentional Retaliatory Termination)
                                As to all Defendants

         93.        The responses to the preceding paragraphs are incorporated by

reference as if fully set forth herein.




                                              22
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 22 of 27
         94.        The allegations of Paragraph 94 call for a legal conclusion to which

no response is required. To the extent a response is required, the cited statute

speaks for itself.

         95.        The allegations of Paragraph 95 call for a legal conclusion to which

no response is required. To the extent a response is required, the cited statute

and case law speak for themselves.

         96.        The allegations of Paragraph 96 are denied.

         97.        The allegations of Paragraph 97 are denied.

         98.        The allegations of Paragraph 98, including all subparts, are

denied.

         99.        The allegations of Paragraph 99 are denied.

         100. The allegations of Paragraph 100 are denied.

         101. It is admitted that Craig Butcher explained to Plaintiff the context

of Palmer’s coaching not to use racial slurs, which Plaintiff had clearly

misinterpreted and continues to describe inaccurately in this Complaint. The

remaining allegations of Paragraph 101 are denied.

         102. It is admitted that Craig Butcher explained to Plaintiff the context

of Palmer’s coaching not to use racial slurs, which Plaintiff had clearly

misinterpreted and continues to describe inaccurately in this Complaint. The

remaining allegations of Paragraph 102 are denied.




                                              23
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 23 of 27
         103. It is denied that the partial quotes cited out of context in

Paragraph 103 accurately reflect the content or context of Craig Butcher’s

communications with Plaintiff; the full text messages are writings that contain

the best evidence of communications between Plaintiff and Craig Butcher. It is

expressly denied that the partial quotes related to any purported protected

activity of Plaintiff, which Defendants deny. The remaining allegations of

Paragraph 103 are denied.

         104. The allegations of Paragraph 104 are denied.

         105. The allegations of Paragraph 105 are denied.

         106. The allegations of Paragraph 106 are denied.

         107. The allegations of Paragraph 107 are denied.

         108. The allegations of Paragraph 108 are denied.

         109. The allegations of Paragraph 109, including all sub-parts, are

denied.

         110. The allegations of Paragraph 110 are denied.

         111. The allegations of Paragraph 111 are denied.

         112. The allegations of Paragraph 112 are denied.

                                    Count II
                     (Title VII - Retaliatory Termination)
                           As to all LLC Defendants

         113. The responses to the preceding paragraphs are incorporated by

reference as of fully restated herein.

                                         24
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 24 of 27
         114. It is admitted that Three Points Center of North Carolina was

Plaintiff’s employer from in or around December 2021 until April 6, 2022.

Except as expressly admitted, the remaining allegations of Paragraph 114 are

denied.

         115. The allegations of Paragraph 115 are denied.

         116. The allegations of Paragraph 116 are denied.

         117. The allegations of Paragraph 117 are denied.

         118. The allegations of Paragraph 118 are denied.

         119. The allegations of Paragraph 119 are denied.

         120. The allegations of Paragraph 120 are denied.

         121. The allegations of Paragraph 121 are denied.

         122. The allegations of Paragraph 122 are denied.

                                   PRAYER FOR RELIEF

         WHEREFORE, Defendants pray that the Court:

         1.         Dismiss the Complaint in its entirety, with prejudice;

         2.         Provide a trial by jury on all issues so triable;

         3.         Deny all relief requested by Plaintiff;

         4.         Tax the Defendants’ costs of this action , including reasonable

                    attorneys’ fees to the full extent permitted under applicable law,

                    including without limitation, Title VII, 42 U.S.C. §2000e-5,

                    against the Plaintiff; and

                                                 25
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 25 of 27
         5.         Grant Defendants such other relief as the Court deems just and

                    proper.

Respectfully submitted, this the 25th day of August, 2023.



                                           /s/ D. Beth Langley
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                                             26
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 26 of 27
                         CERTIFICATE OF SERVICE

         I hereby certify that on August 25, 2023, I electronically filed the

foregoing DEFENDANTS’ ANSWER AND DEFENSES TO PLAINTIFF’S

COMPLAINT (Jury Trial Demanded) with the Clerk of Court using the

CM/ECF system, which will send notification via electronic mail to the

following CM/ECF filer:


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This the 25th day of August, 2023.


                                     /s/ D. Beth Langley
                                     D. BETH LANGLEY




                                       27
4889-7456-2423.v7



       Case 1:23-cv-00527-LCB-JLW Document 7 Filed 08/25/23 Page 27 of 27
